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1                                                                        The Honorable John H. Chun

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7                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
8                                         AT SEATTLE

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     FEDERAL TRADE COMMISSION,                               No. 2:23-cv-0932-JHC
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               Plaintiff,                                    PLAINTIFF’S RESPONSE TO
11                                                           DEFENDANTS’ NOTICE OF
          v.                                                 SUPPLEMENTAL AUTHORITY
12                                                           RELATING TO DEFENDANTS’
     AMAZON.COM, INC., et al.,                               MOTIONS TO DISMISS
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               Defendants.
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               On March 1, 2024 Defendants filed their Notice of Supplemental Authority (Dkt. #149)
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     regarding Judge Martinez’s decision granting in part and denying in part Amazon’s motion to
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     dismiss in Daly, et al. v. Amazon.com, Inc., et al., No. 22-cv-00910-RAJ (W.D. Wash.).
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     Defendants’ description of Daly omits two key points.
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               First, Defendants do not mention that Judge Martinez declined to dismiss the Daly
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     plaintiffs’ challenge to Amazon’s subscription-cancellation practices. Specifically, the Daly
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     plaintiffs alleged that Amazon violated California and Oregon law by failing to provide a
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     “timely, and easy-to-use mechanism for cancellation” across its subscription services, including
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     PLAINTIFF’S RESPONSE TO DEFENDANTS’                                         Federal Trade Commission
     NOTICE OF SUPPLEMENTAL AUTHORITY                                        600 Pennsylvania Avenue N.W.
     Case No. 2:23-cv-0932-JHC                                                      Washington, DC 20580
                                                      1                                     (202) 326-3320
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1    Prime. See Dkt. #149 at 19-20. As relevant to the FTC’s claim that Amazon failed to provide

2    “simple” cancellation mechanisms, the Court held that the plaintiffs had “made a prima facie

3    showing that [a violation of California and Oregon law] occurred related to the cancellation

4    mechanism.” Id. at 20.

5           Second, Defendants obscure the fact that their use of the phrase “challenged Amazon

6    Prime enrollment process” refers to the enrollment process challenged in Daly, which is different

7    from the enrollment processes at issue here. Specifically, the FTC’s allegations challenge

8    Amazon’s Prime enrollment practices relating to (1) consumers who are attempting to purchase

9    products on Amazon and instead end up enrolled in Prime (through, for example, the “UPDP”

10   and “SPC” enrollment pages) and (2) consumers who enroll in Prime while thinking they are

11   enrolling in Prime Video. Dkt. #67 ¶¶ 34-126; Dkt. #126 at 12-23. The Daly plaintiffs made no

12   allegations regarding either of those enrollment flows. Instead, they described the enrollment

13   experience of consumers who visit the “Amazon Website” and then affirmatively “select” a

14   subscription service (including Prime) in which to enroll. Daly Complaint (Dkt. #14) ¶¶ 67-68.

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